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                               \VlS]]RN I)IS FRJCI OFTlXAS
                                  SAN ANtONIO DIVISION

UNEfED STATES OF' AMERICA,                                CRl'vljN:\I., NO: S.\-18-('R-354-1)AI

                      Plaintiff,                          I   SL;PERS[DING INI)I('IN'IENT

V.
                                                          j \'io: 21 U.S.C. § 846, $-l1(a)(1 I &
                                                         84 I (b)( (I )( A ). CoflSpifllc\ 10 Possess vith
                                                         Intern to I )istrihute live hundred tirams or
JOSUE INFANTE (2),                                       more ol a detectable q tiarnity ol'
DANIE1.. EFREN (;AONA (3),                               inethamphcuinu ne. one kilogiam or more
APRIL TORRES (4),                                        01 a dctectaI)Ie quantity of heroin and live
L.ANr ROSE SULLIVAN (5),                                  kilograms or more    01 cocaine:

EI)GAR IVAN IIERNANI)EZ (6)                              P  Vio: 21 LS.C. § $41(a)(1)&
                                                          $4 I (b)( I )(C) and 8 t J.S.C. § 2. Aiding
                                                                              1



                                                           uid Abeit in Possession ith Intent to
                                                          I)istrihute a detectable quantity ol
                                                         ('ocaine:
                                                         P \"iu: 211 SC. §          81 I(a)( 1) &
                      Dc l'endants.                       S-I I ( b)( 1 )(A), POSSeSSIOn with Intent to
                                                         I)istrihutc one kilot!ram or more ol :i
                                                         detectable quantity ol ?lctharnphetaminc,        I




TIlE GRAND JURY cFIAR(;1:s:
                                             COUNT ONE
                         121   L   .S.C. § 846, 841 (a)(I) & 841 (b)( I )(A)J

       That beginning on or about December 2017, and continuing to on or about August 9.

2018. in the Western District of Texas. l)elendants.


                                       JOSUE INFANTE (2),
                                    1)ANIEL EFREN (;AONA (3),
                                         APRIL T()RRES (4),
                                     LANA ROSE SUIJ..J\'AN (5)
                                   EI)GAR IVAN HERNAN1)EZ (6),




knowingly, intentionally and unlawlully eonibuicd. conspired, contderatcd and agreed together

and with others known and unknown to        pssss with the intent to distribute     controlled
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substances, which offense involved five hundred grams or more of a detectable quantity of

methamphetamine, a Schedule II Controlled Substance, one kilogram or more of a detectable

quantity of heroin a Schedule I Controlled Substance, and five kilograms or more of a detectable

quantity of cocaine, a Schedule II Controlled Substance in violation of Title 21, United States

Code, Sections 846, 841 (a)( 1) and 841 (b)( )(A).
                                            1




                                          COUNT TWO
                    121   U.S.C. § 841(a)(1) , 841(b)(1)(C) & 18 U.S.C. § 2J

       That on or about December 13, 2017, in the Western District of Texas, Defendants,




did unlawfully, knowingly and intentionally aid and abet each other to possess with intent to

distribute a controlled substance, which offense involved a Mixture or Substance Containing a

Detectable Quantity of cocaine, a Schedule II Controlled Substance in violation of Title 21,

United States Code, Sections 84l(a)(1) and 84l(b)(1)(C), and Title 18 United States Code

Section 2.

                                        COUNT THREE
                               [21 U.S.C. § 841(a)(1) , 841(b)(1)(C) & 18 U.S.C. § 2    1




That on or about January 11, 2018, in the Western District of Texas, Defendants,




did unlawfully, knowingly and intentionally aid and abet each other to possess with intent to

distribute a controlled substance, which offense involved a Mixture or Substance Containing a

Detectable Quantity of cocaine, a Schedule II Controlled Substance, in violation of Title 21,
      Case 5:18-cr-00354-DAE Document 154 Filed 01/23/19 Page 3 of 3




 United States Code, Sections 841
                                  (a)( 1) and 841 (b)( I )(C), and Title 18
                                                                            United States Code
 Section 2.

                                            COUNT FOUR
                             [21 U.S.C. §    841(a)(1) & 841(b)(I)(A)j
        That on or about August 9, 2018, in
                                            the   Western District of Texas, Defendant.


did unlawfully, knowingly and
                                 intentionally possess with intent to distribute
                                                                                 a controlled
substance, which offense involved which
                                            offense involved 500 grams or more of a
                                                                                       Mixture or
Substance Containing a Detectable
                                     Quantity of Methamphetamine, a Schedule
                                                                                   11 Controlled

Substance, contrary to Title 21, United
                                         States Code, Sections 841(a)(l) and
                                                                               841(b)(1)(A).



                                                     A TRtTt



                                                     FOP1!1tSON O1RAND JURY

      JOHN F. BASH
      United States Attorney



                    I
     SAM L. PONDER
     Assistant United States Attorney
